






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00585-CR






Ronald Dale Marshall, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BURNET COUNTY, 33RD JUDICIAL DISTRICT

NO. 36247, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Ronald Dale Marshall seeks to appeal a judgment of conviction for theft of property. 
The trial court has certified that this is a plea bargain case and that Marshall has no right of appeal. 
We note further that the sentence imposed conforms with the sentence the State agreed to
recommend and that Marshall waived his right of appeal as part of the plea agreement.  The appeal
is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).


						___________________________________________

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   November 19, 2009

Do Not Publish


